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In the Gnited States Court of Federal Claims

No. 16-926C
(Filed: August 5, 2016)

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SHEILA BURLESON,
Plaintiff, F | LE D
v AUG - 5 2016
THE UNITED STATES, FEDEN Or,
Defendant.

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ORDER

Plaintiff Sheila Burleson, who appears pro se, filed four complaints in
this court against the Social Security Administration (“SSA”), the Internal
Revenue Service, Nationwide Insurance Company, and Wells Fargo.’ All
appear to relate to the foreclosure of plaintiff's home in 2008.

In the above-captioned case, plaintiff takes issue with actions made by
the SSA when sending her benefits checks. We do not have jurisdiction over
claims related to decisions made by the SSA; such claims must be brought in
district court. See Marcus v. United States, 909 F.2d 1470, 1471 (1990); 42
U.S.C. § 405(g) (2012). Because the jurisdictional defect is patent, we deem
it unnecessary to wait for a response to the complaint. We therefore dismiss the
complaint for lack of jurisdiction pursuant to Rule 12(b)(1) of the Rules of the
United States Court of Federal Claims (““RCFC’”).

Also pending is plaintiff's motion for leave to proceed in forma
pauperis. For good cause shown, the motion is granted. The clerk is directed
to dismiss the complaint. No costs. The clerk is also directed not to receive any
further filings from plaintiff without prior court approval.

 

' The four cases have been assigned case numbers 16-926C, 16-927C, 16-
928C, and 19-929C, respectively.

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ERIC G. BRUGGINK
Senior Judge
